                         Case 23-32045 Document 1 Filed in TXSB on 06/02/23 Page 1 of 7



 Fill   in   this information to identify the case:
                                                                                                                United States Courts
 United States Bankruptcy Court for the :                                                                  Southern    District of Texas
                                                                                                                     Fl LED
             Southern            District of     Texas
                                               (State)

 Case number (II known): _ _ _ _ _ _ _ _ _ _ Chapter ...11__
                                                                                                                JUN O2 2023
                                                                                                                                                 0   Check if this is an
                                                                                                                                                     amended filing
                                                                                                        Nathan Ochsner, Clerk of Court


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                          os,22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name                                        Cold Fire Lend ing, LLC


 2.     All other names debtor used
                                                         N/A
        in the last 8 years
        Include any assumed names,
        trade names, and doing business
        as names




 3. Debtor's federal Employer
                                                         XX-XXXXXXX
        Identification Number (EIN)



 4.     Debtor's address                                 Principal place of business                                    Mailing address, If different from principal place
                                                                                                                        of business

                                                         1710 Scenic Shore Drive                                         2639 Nacodogches Drive
                                                         Number         Street                                          Number      Street



                                                                                                                        P.O. Box

                                                         Kingwood                          TX       77345                San Antonio                 TX         78217
                                                         City                              State     ZIP Code           City                         State       ZIP Code


                                                                                                                        Location of principal assets, if different from
                                                                                                                        principal place of business
                                                         Harris
                                                         County
                                                                                                                        Number      Street




                                                                                                                        City                         State       ZIP Code




 s. Debtor's website (URL)




Official Form 201                                               Voluntary Petition for Non-individuals Filing for Bankruptcy                                 page 1
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Debtor         Cold Fire Lending , LLC                                                              Case nuniber (,fknownl,_ _ _ _ _ _ _ _ _ _ _ _ __
              Name



                                           ~ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 s. Type of debtor
                                           0   Partnership (excluding LLP)
                                           0   Other. Specify: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                           A. Check one:
 1.   Describe debtor's business
                                           0   Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                           0   Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
                                           0   Railroad (as defined in 11 U.S.C. § 101 (44))
                                           0   Stockbroker (as defined in 11 U.S.C. § 101 (53A) )
                                           0   Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                           0   Clearing Bank (as defined in 11 U.S.C. § 781 (3))
                                           ~ None of the above


                                           B. Check all that apply:

                                           0   Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           D Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                           0   Investment advisor (as defined in 15 U.S.C. § 80b-2 (a)(1 1))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              n1tp://www.usc0Grts .9Q.v/four-diqit-nat.ionaf-asscciation-naics-codes .



 s. Under which chapter of the             Check one:
    Bankruptcy Code Is the
    debtor filing?                         0   Chapter 7
                                           D   Chapter 9
                                           ~ Chapter 11 . Check afl that apply:
      A debtor who is a "small uusiness
      debtor'" must check the first sub-                     0    The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51 D), and its
      box. A debtor as defined in                                 aggregate noncontingEnt liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                             affiliates) are less than $3,024,725. If this sub-box 1s selected , attach the most
      under subchapter V of chapter 11                            recenc balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                             income tax return or if any of these documents do not exist, follow the procedure in
      "small business debtor'') must                              11 U.S.C. § 1116(1 )(B).
      check the second sub-box.                              D    The debtor is a debtor as defined in 11 U.S.C. § 1182(1 ), its aggregate
                                                                  noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                  less tha n $7,500,000, and it chooses to proceed under Subchapter V of
                                                                  Chapter 11. lfthis sub-box is selected , attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return , or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                  § 111 5(1 )(8).

                                                              0   A pian 1s being filed with th is petition.

                                                              0   Acceptances of the plan were solicired prepetition from one or more classes of
                                                                  r:rediton, , in nccordancc with 11 U.S.C. § 11 26(b).

                                                             ~ The debtor it; required to file periodic reports (for example, 1OK and 1OQ) with the
                                                                  Se;;urities and Exchange Comm ission according to § 13 or 15(d) of the Securities
                                                                  "::.change Act cf 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                  for Bonkruptcy under Chapter 11 (Official Form 201A) with this form .

                                                              0   The c 2btor i.;· a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                           0   Chapter 1~




  Official Form 201                            Volunt::r; ?etit!:m :c, ;· !-J on-! ndi,idua!~ Fi:i:,g for Bankruµtcy                         page 2
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Debtor        Cold Fire Lending~ L L ~ - - - - - -                                                  Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
              Nam,



 9. Were prior bankruptcy cases
     filed by or against the debtor
     within the last 8 years?          D Yes.    District _ _ _ _ _ _ _ _ _ When _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                                                 MM / DD / YYYY
     If more than 2 cases , attach a                                         _____ Wl1en _ _ _ _ _ _ Case number _ _ _ _ _ _ _ _ __
                                                 District
     separate list.
                                                                                         MM / DD /YYYY

 10. Are any bankruptcy cases          ~ No
     pending or being filed by a
     business partner or an            D Yes.    Debmr _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Relationship
     affiliate of the debtor?                                 _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ When
                                                 Di~i rict
     List all cases. If more than 1,                                                                                                     MM    /   DD   / YYYY
     attach a separate list.                     Case numbt:r, IT k.no·,:n



 11. Why is the case tllcd in this     Check all that apply:
     district?
                                       0   Debtor rw s had its ,jM1icile, principal place of busines$, or principal assets in this district for 180 days
                                           immediately preceding the dato of this pct:tion or for a longer part of such 180 days than in any other
                                           district.

                                       D /, bankruptcy case ccncerning de:ctor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have       ~ No
     possession of any real            O Yes. Answer belo·N fer each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs Immediate                       Why does the property r,eed immediate attention?                   (Check all that apr:J,y.)
     attention?
                                                D     :t pose:; or is sltcged to pose     ;i   tr.real of imminent and identifiable hazard to public health or safety.
                                                      'Mlat i:; the h.izard? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                0     It nescls to b~ physic;;i!y s::icured or protected from the weather.

                                                D     It includes perishable good:; or assets that could quickly deteriorate or lose value without
                                                      attention (for example, 1,vestoci; , seasonal goods , meat, dairy, produce, or securities-related
                                                      assets or otner opticn5).

                                                D     Other _ ___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                Whue is the prop-.:rty'?_           __________________________
                                                                                Nu~1bc:              Street




                                                                                                                                         State ZIP Cede


                                                I:; tli,;;   property !nsumd'!
                                                (J    No
                                                0     Yes. :nsur;:inca ager.cy _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                                                               Ccntact narr.e




             Statistical and administrative information




  Official Form 20i                        Voluntary Petition f:,r Non-lnd:viduals Filing for Bankruptcy                                                page 3
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Debtor         Cold Fire Lending, LLC                                                              Case, number (ifkeown)_ _ _ _ _ _ _ _ _ _ _ _ __
               Name




 13. Debtor's estimation of                 Check one:
     available funds                        ~ Funds will be available for distribution to unsecured creditors.
                                            0    After any administrative expenses are paid , no funds will be available for distribution to unsecured creditors.


                                            ~ 1-49                             D   1,000-5,ooo                               D 25 ,001-50,000
 14. Estimated number of
                                            D    50-99                         0   5,001-10,000                              0   50,001-100,000
     creditors
                                            D    100-199                       0   10,001-25,000                             D   More than 100,000
                                            D    200-999


                                            D $0-$50,000                       ~ $1 ,000,001-$10 million                     0   $500,000,001-$1 billion
 1s. Estimated assets                       D $50,001-$100.000                 0   $10,000,001-$50 million                   D   $1,000,000,001-$10billion
                                            D $100,001-$500,000                D   $50,000,001-$100 million                  D $10,000,000,001-$50 billion
                                            ~ $500 ,001 -$1 million            D   $100,000,001-$500 million                 D More than $50 billion

                                            D    $0-$50,000                    ~ $1 ,000 ,001 -$1 O million                  D $500,000,001-$1 billion
 16. Estimated liabilities
                                            D    $50,001-$100,000              0   $10,000,001-$50 million                   D $1 ,000,000,001-$1 O billion
                                            D    $100,001-$500,000             D $50,000,001-$100 million                    D $10,000,000,001-$50 billion
                                            D    $500,001-$1 million           D $100,000,001-$500 million                   D More than $50 billion


              Request for Rellef, Declaration, and Signatures


 WARNING -        Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                  $500,000 or imprisonment for up to 20 years , or both. 18 U.S.C. §§ 152, 1341 , 1519, and 3571 .


 11. Declaration and signature of                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                                 petition.
     debtor

                                                 I have been authorized to file this petition on behalf of the debtor.


                                                 I have examined the information in this petition and have a reasonable belief that the information is true and
                                                 correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed on   06 02 2023

                                             X     ~~
                                                 Signatu~        orized representative of debtor
                                                                                                              I f~tt., Cer--i-!o,o--Luu~
                                                                                                              Printed name


                                                 Title   ~ pt la                   r; C'L V~· Ce,-




  Official F orrn 201                            Voluntary Petition for Non-lr.dividuats Filing for Bankruptcy                                    page 4
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Debtor        Cold Fire Lending, LLC                                                      Case number (dknown),_ _ _ _ _ _ _ _ _ _ _ _ _ __
             Name




 1s. Signature of attorney             X                                                            Date
                                           Signature of attorney for debtor                                        MM      /DD /YYYY




                                           Printed name


                                           Firm name


                                           Number         Street


                                           City                                                            State            ZIP Code



                                           Contact phone                                                   Email address




                                           Bar number                                                      State




  Official Form 201                        Voluntary Petitior. for Non-Individuals Filing for Bankruptcy                               page 5
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                                                    •                •                           -·   ••1
 Fill in this information to identify the case and this filing :


 Debtor Name    Cold Fire Lending, LLC
 United States Bankruptcy Court for the:   Southern                      Districi of    Texas
                                                                                       (Stare)
 Case number (II known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12,1s

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING .. Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declarat ion and signature



         I am the president, another officer. or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the det;to( in this case.

         I have examined the information in the documents checked below and I have a 1·easonable belief that the information is true and correct:


         D     Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)

         ~ Schedule D: Creditors WI-Jo Have Claims Secured by Property (Official Form 206D)

         D     Schedule EJF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         D     Schedule G: Executor; Contracts and Unexpired Leases (Official Form 206G)

         D     Schedule H: Codebtors (Official Form 206H)

         D     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

         D     Amended Schedu/£:


         D     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         D     Other document that requires a declaration _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         I declare under penalty of perjury that the foregoing is   ~ m                    et(   n            ,
         Executed on       06/06/2023                      · .)C, ~ - - - - - - _ _l-<::)
                                                                                    _ _ _ _ _ _ _ _ _ _ _ __
                           MM/DD / YYYY                             S1~r.a:ure of ir.di\'idual sigr. ing on behalf of debtor




                                                                    Pi inted name


                                                                    £f?. {;on, (/L(A-t---,Lh, 0-t=-Ft. ~
                                                                    Position or relationsh ip to debtor



Official Form 202                          Declaration Under P,; n:,lty of Perjury for Non-Individual Debtors
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Official Form 20 I A ( 12/ I5)


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

         In re:                                                 §
         COLD FIRE LENDING, LLC                                 §        Chapter 11
                                                                §
                                                                §        Case No. _ _ _ _ _ _ __



                            Attachment to Voluntary Petition for Non-Individuals Filing for
                                           Bankruptcy under Chapter 11

              I. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act
         of 1934, the SEC fil e number is _ _ __ __

              2. The foll owing fin ancial data is the latest avai lable in fo rmation and refers Lo the debtor's condition on
         June 2, 2023 .
               a. Total assets                                                    $ I, l 00,000.00

               b. Total debts (including debts listed in 2.c., below)             $ 723,771.05
               c. Debt securities held by more than 500 holders. N/A
                                                                                                              Approximate
                                                                                                              number of
                                                                                                              holders:

               secured    G      unsecured   G   subordinated   G    $
               secured    G      unsecured   G   subordinated   G    $
               secured    G      unsecured   G   subordinated   G    $
               secured    G      unsecured   G   subordinated   G    $
               secured    G      unsecured   G   subordinated   G    $


               d. Number of shares of preferred stock                                                            NIA
               e. Number of shares common stock                                                                  NIA

               Comments, if any :



               3. Brief description of debtor= s business:
                                                            - - - - - - - - -- - -- - - - - - - -


             4. List the names of any person who directly or ind irectl y ow ns, contro ls, or holds, wi th power to vote,
         5% or more of the voting securities of debtor:
